             Case 4:22-cr-00612 Document 25-1 Filed on 12/13/22 in TXSD Page 1 of 2

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                           U.S. District Court [LIVE]
                         Western District of Texas (Austin)
            CRIMINAL DOCKET FOR CASE #: 1:22-mj-00996-DH All Defendants


Case title: USA v. Constantinescu                                   Date Filed: 12/13/2022

Other court case number: 4:22-CR-612(1) Southern District of        Date Terminated: 12/13/2022
                         Texas, Houston Division


Assigned to: Judge Dustin M. Howell

Defendant (1)
Edward Constantinescu
TERMINATED: 12/13/2022

Pending Counts                                Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                             Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                    Disposition
18:1349.F ATTEMPT AND CONSPIRACY
TO COMMIT MAIL FRAUD; 18:1348.F
SECURITIES FRAUD; 18:1957-5800.F
ENGAGING IN MONETARY
TRANSACTIONS



Plaintiff
USA                                                 represented by G. Karthik Srinivasan
                                                                   US Attorney's Office - Western District of
                                                                   Texas
                                                                   903 San Jacinto Blvd., Suite 334
                                                                   Austin, TX 78701
             Case 4:22-cr-00612 Document 25-1 Filed on 12/13/22 in TXSD Page 2 of 2
                                                         512-370-1253
                                                         Fax: 512-916-5854
                                                         Email: karthik.srinivasan@usdoj.gov
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED


Date Filed      # Docket Text
12/13/2022      1 Arrest (Rule 5 - Southern District of Texas, Houston Division) of Edward Constantinescu
                  (jf) (Entered: 12/13/2022)
12/13/2022      2 Minute Entry for proceedings held before Judge Dustin M. Howell:Initial Appearance in
                  Rule 5(c)(3)/ Rule 32.1 Proceedings as to Edward Constantinescu held on 12/13/2022
                  (Minute entry documents are not available electronically.) (Court Reporter FTR Gold -
                  ERO.) (afd) (Entered: 12/13/2022)
12/13/2022      3 ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICTWHERE
                  CHARGES ARE PENDING AND TRANSFERRING BAIL as to Edward Constantinescu.
                  Signed by Judge Dustin M. Howell. (afd) (Entered: 12/13/2022)
12/13/2022      4 WAIVER - Rule 5/Rule 32.1 as to Edward Constantinescu. (afd) (Entered: 12/13/2022)
12/13/2022      5 ORDER Setting Conditions of Release. Signed by Judge Dustin M. Howell. (afd) (Entered:
                  12/13/2022)
12/13/2022      6 Notice to Southern District of Texas, Houston Division of a Rule 5, Rule 32, or Rule 40
                  Appearance as to Edward Constantinescu. Your case number is: 4:22-CR-612(1). Docket
                  sheet and documents attached. (If you require certified copies of any documents, please
                  send a request to TXWD_ECF_help@txwd.uscourts.gov. If you wish to designate a
                  different email address for future transfers, send your request to
                  InterDistrictTransfer_TXND@txnd.uscourts.gov.) (afd) (Entered: 12/13/2022)
